                              Case 22-11068-JTD     EXHIBIT  A
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Lease Ledger
                                                                     Lease Information
                                                                                       Date                    06/13/2023
                                                                                       Lease Id                t0020716
                                                                                       Property                oe6770
                                                                                       Location                101 Second Street
                                                                                       Assigned Space(s)        0200
                                                                                       Customer                West Realm Shires Services Inc. (dba FTX US)
Delaney Ornelas                                                                        ICS Code                Other Financial Vehicles
West Realm Shires Service Inc                                                          Lease Type              Office
101 2nd Street
                                                                                       Lease Term              From       01/06/2022      To   01/11/2023
Suite #200
San Francisco , CA , 94105                                                             Lease Area              (GLA)
                                                                                       Monthly Rent
                                                                                       Office Phone
                                                                                       Fax No
                                                                                       E-Mail



Date            Description                                                                       Charges                 Payments                       Balance
                Balance Forward                                                                                                                        11,639.00
10/01/22        Base Rent                                                                       128,290.33                                             139,929.33
10/03/22        Wire - Pymt-10.2022 rent                                                                                  128,290.33                    11,639.00
10/05/22        Wire - Pymt-08.2022 Chargebacks                                                                            11,639.00                         0.00
10/21/22        09.2022 BB - Admin fees                                                            1,319.03                                              1,319.03
10/21/22        09.2022 BB - August day porter                                                     5,175.00                                              6,494.03
10/21/22        09.2022 BB - September day porter                                                  3,418.50                                              9,912.53
10/21/22        09.2022 BB - Access cards                                                            200.00                                             10,112.53
10/21/22        09.2022 BB - Overtime HVAC                                                        11,088.00                                             21,200.53
10/21/22        09.2022 BB - OT HVAC 09.05.22                                                        528.00                                             21,728.53
10/21/22        Wire - Pymt-09.2022 Chargebacks                                                                             21,728.53                        0.00
11/01/22        Base Rent                                                                       128,290.33                                             128,290.33
11/01/22        Wire - Pymt-11.2022 rent                                                                                  128,290.33                         0.00
11/30/22        10.2022 BB - Admin fees              Tenant chargebacks $13,606.80                    190.80                                               190.80
11/30/22        10.2022 BB - Special cleaning                                                       1,272.00                                             1,462.80
11/30/22        10.2022 BB - Overtime HVAC                                                         12,144.00                                            13,606.80
12/01/22        Base Rent                           December 2022 rent                           128,290.33                                            141,897.13
01/01/23        Base Rent                                                                        128,290.33                                            270,187.46
01/01/23        Op Exp Reim Est                                                                     1,915.73                                           272,103.19
01/01/23        RE Tax Reim Est                      January 2023 rent pro-rated                    5,207.99                                           277,311.18
01/12/23        FTX term-prorate Jan 12-31/2023      $48,050.15                                 (82,767.95)                                            194,543.23
01/12/23        FTX term-prorate Jan 12-31/2023                                                   (1,235.96)                                           193,307.27
01/12/23        FTX term-prorate Jan 12-31/2023                                                   (3,359.99)                                           189,947.28

0-30 Days                                           31-60 Days                     61-90 Days                  Above 90 Days                         Amount Due

0.00                                                      0.00                           0.00                       189,947.28                          189,947.28




                                                                                                                                               Tuesday, June 13, 2023
